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RAFAEL M. GONZALEZ, JR.
UNITED STATES ATTORNEY
KATHERINE L. HORWITZ, OKLAHOMA STATE BAR NO. 30110
CHRISTIAN S. NAFZGER, IDAHO STATE BAR NO. 6286
JUSTIN WHATCOTT, IDAHO STATE BAR NO. 6444
JOSHUA D. HURWIT, IDAHO STATE BAR NO. 9527
ASSISTANT UNITED STATES ATTORNEYS
1290 W. MYRTLE STREET, SUITE 500
BOISE, IDAHO 83702
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1413


                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,

 Plaintiff,                                 Case No. 1:18-cr-00258-BLW

 vs.
                                            GOVERNMENT’S RESPONSE TO
 PAVEL BABICHENKO,                          DEFENDANT MIKHAIL
 PIOTR BABICHENKO,                          IYERUSALIMET’S
 TIMOFEY BABICHENKO,                        SECOND MOTION TO EXCLUDE
 KRISTINA BABICHENKO,                       EVIDENCE OF HARM AND
 DAVID BIBIKOV,                             DANGEROUSNESS (ECF 1306)
 ANNA IYERUSALIMETS,
 MIKHAIL IYERUSALIMETS,

 Defendants.



       Testimony and evidence related to the electrical failures of counterfeit chargers

should be admitted at trial. Accordingly, the Defendants’ renewed motion to prevent

testimony related to such evidence should be denied. The remaining categories of evidence

the defense seeks to admit will not be offered by the Government. Accordingly, those

points are moot.

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                               RELEVANT BACKGROUND

       In 2016, Underwriter Laboratories (“UL”) conducted testing on 400 counterfeit

Apple-style cellphone chargers and published a study of the results, explaining the dangers

posed to consumers of these counterfeit Apple-style cellphone chargers (hereinafter “White

Paper”). See ECF 340-5. UL reported a 99% fail rate among the counterfeit iPhone

chargers in the electrical strength test. See id. In the same study, UL determined that 12 of

the 400 tested chargers posed a risk of lethal electrocution. See id. This risk is a natural

byproduct of counterfeit cellphone chargers’ poor and inconsistent manufacturing quality.

See id. (“[P]ower adapters bearing counterfeit UL marks typically contain less sophisticated

circuits, fail to deliver their advertised current and voltage, and fail when tested to safety

standards.”).

       In 2020, the Government noticed Mr. Robert Pollock as testifying to both the broad

danger that counterfeit products pose to consumers, as well as the particular findings of the

White Paper. The Government likewise produced the White Paper and underlying data

(made available to defense counsel through inspection at the United States Attorney’s

Office) to the defense. The defense challenged Mr. Pollock’s expert testimony under Rule

702 in a motion to exclude and through a lengthy cross-examination during a Daubert1

hearing. See ECF 871, 91–127. Ultimately, the Court held that Mr. Pollock was qualified

as an expert to testify on the noticed topics. As to the White Paper, however, the Court

determined that the testimony was not sufficiently tethered to the particular products sold by

the Defendants to be admissible. See Trial Tr. Day 19, at 3105:22–3106:02. Nevertheless,

the Court concluded that Mr. Pollock could testify as to “why safety is a concern, why UL


1
 Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993).
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so zealously enforces its rights . . . and tie his testimony to evidence already in the record.”

See id. at 3105:22–3106:02.

       In accordance with these rulings, Mr. Pollock testified to UL’s safety standards,

certification process, and the broader dangers that counterfeit products pose to the public.

Mr. Pollock likewise testified to the lack of traceability and accountability with counterfeit

goods. In response, the defense called an electrical engineering expert, Neil Shirk, who had

performed his own electrical testing on chargers seized in this case—including a sample of

those purchased from Pavel Babichenko in a hand-to-hand undercover buy charged in count

22. During trial, Mr. Shirk testified that the Defendants’ chargers, on which he performed

destructive testing, had a “rock solid, good performance,” and a “very consistent . . .

outstanding performance.” See Trial Tr. Day 30, at 5680.

       Since trial, Mr. Pollock and his team have conducted electrical strength testing on

117 of cellphone chargers seized from the Defendants. See ECF 1288, at 2. Of the 117

chargers seized from the Defendants and tested, all failed the testing. The Defendants’

products failed in the lab and in real life. Kari Krause testified during the first trial that the

charger she purchased from Wireless Closeouts—Kristina Babichenko’s business—hissed

when it was plugged into the electrical outlet. See Trial Tr. Day 5, at 210; 164:20–:22 (“So it

just started to hiss which is a pretty remarkable thing for a charger to do.”). That is exactly

the type of failure the electrical stress test uncovers. Steve Kroll experienced a similar

failure: a charger he purchased from Cell2U4Less—an entity run by Arthur Pupko for

Pavel Babichenko—started hissing and got hot the first time he plugged it in.




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       In the Defendants’ renewed motion, they seek to exclude all evidence and argument

of the harm posed by counterfeit contraband as irrelevant and unfairly prejudicial.

Specifically, they seek to exclude three categories related to this evidence:

           1. Safety tests on devices unrelated to the Defendants’ products, like the White

               Paper, see ECF 1316, at 9;

           2. Speculative testimony from the victims and testimony that they were

               “unsettled” by the hissing and popping of chargers purchased from the

               Defendants, see id. at 3–4, 8–9;

           3. Testimony from brands regarding specific instances of people being harmed

               by counterfeit products that were not the Defendants’ products, see id. at 8.

       The Government does not intend to elicit Categories 2 or 3 from these witnesses and

will instruct each witness not to discuss these topics. Accordingly, the Defendants’ motion

on these points is moot. As to the first category, the Government will seek to elicit

testimony from Mr. Pollock as to UL’s research underpinning the White Paper. Originally,

the Court precluded testimony as to the White Paper after determining that the research was

not connected to the Defendants’ products. Unlike the first trial, however, UL has since

conducted testing on the Defendants’ products that directly parallels the study in the White

Paper. Accordingly, the testimony as to the latter should be admitted at trial.

                                  LEGAL FRAMEWORK

       A motion in limine is a “procedural mechanism to limit in advance testimony or

evidence in a particular area.” United States v. Heller, 551 F.3d 1108, 1111 (9th Cir. 2009).

District courts have broad discretion to make evidentiary rulings to ensure a fair and orderly

trial. See, e.g., S.M. v. J.K., 262 F.3d 914, 919 (9th Cir. 2001). Within this broad discretion,

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courts may rule on the relevancy of the proffered evidence. See, e.g., Self Storage Advisors,

LLC v. SE Boise Boat & RV Storage, LLC, No. 1:18-cv-294, 2021 WL 1238368, at *1 (D.

Idaho Apr. 2, 2021). A motion in limine should not, however, be used to resolve factual

disputes or weigh evidence. C&E Servs., Inc., v. Ashland Inc., 539 F. Supp. 2d 316, 323

(D.D.C. 2008). To exclude evidence on a motion in limine, “the evidence must be

inadmissible on all potential grounds.” See Ind. Ins. Co. v. Gen. Elec. Co., 326 F. Supp. 2d

844, 846 (N.D. Ohio 2004). Rulings in limine are provisional: they “are not binding on the

trial judge [who] may always change [her] mind during the course of a trial.” Ohler v. United

States, 529 U.S. 753, 758 n.3 (2000). Accordingly, denials of motions in limine merely

mean that “without the context of trial, the court is unable to determine whether the

evidence in question should be excluded.” Ind. Ins. Co., 326 F. Supp. 2d at 846.

                                        ARGUMENT

       In its prior ruling, the Court recognized that potential hazardousness can be a

byproduct of “poor product quality, which is relevant to whether a product is counterfeit,

including the potential for confusion, mistake, or deception.” See Order, ECF 945, at 9–13.

The Court rightfully held that “counterfeit products may mislead the public into believing

the proper trademark holder is responsible for the safety concerns caused by the products.”

Id. at 10. Nothing warrants disruption of this Court’s prior ruling.

       Trademark owners are victims of trademark-counterfeiting; they enjoy an exclusive

right to prohibit others from trafficking in the spurious versions of goods and services

bearing their marks, whether they take the form of words, names, symbols, devices (or some

combination thereof) that indicate the source of particular goods. See Matal v. Tam, 137 S.

Ct. 1744, 1751 (2017); see also 18 U.S.C. § 2320. Congress crafted Section 2320, not only to

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protect consumers from deception or harm, but also as a means of protecting against “the

cheapening and dilution of the genuine product.” United States v. Hon, 904 F.2d 803, 806 (2d Cir.

1990) (emphasis added). In other words, “[o]ne of the rights that a trademark confers upon

its owner is the right to control the quality of the goods manufactured and sold under that

trademark.” United States v. Farmer, 370 F.3d 435, 441 (4th Cir. 2004) (internal quotation

marks omitted).

       This right, however, is exclusive to mark holders, and Defendants cannot defend

against trademark-counterfeiting charges by claiming that their products were of a similar

quality. See Farmer, 370 F.3d at 441 (“[I]t is the control of quality that a trademark holder is

entitled to maintain.”). This means that product quality, though irrelevant when raised by a

defendant, is relevant and probative of whether an item is counterfeit because mark holders

determine whether contraband lives up to their own standards. See id. (“[T]he whole point

is that deciding whether shirts pass muster is reserved to [the trademark holders], not to [the

defendant].”).

       In fact, when considered against a defendant, product quality is probative of

numerous legitimate issues at trial, including whether a defendant knew (or should have

known) that certain items were indeed counterfeit. See, e.g., Levi Strauss & Co. v. Diaz, 778 F.

Supp. 1206, 1208 (S.D. Fla. 1991) (“It is clear . . . that the goods transported to France were

not of the type or quality normally produced by Levi Strauss. The goods were of such

inferior quality, that even a minimal inquiry . . . would have disclosed their counterfeit

nature.”). Product quality may also bear upon a defendant’s state of mind. See, e.g., United

States v. Yi, 460 F.3d 623, 630 (5th Cir. 2006) (noting that “[t]he noticeably poor quality of

most of the goods, purchased in a store owned by Zheng, provides further support” for the

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defendant’s intent). It may also be relevant to showing the existence of a counterfeit scheme

in much the same way that evidence of loss directly bears upon the existence of a scheme to

defraud. See, e.g., United States v. Rasheed, 663 F.2d 843, 850 (9th Cir. 1981) (observing that

although “[t]he mail fraud statute does not require proof that anyone has been defrauded

. . . [s]uch evidence may be relevant to show that a scheme to defraud existed” (internal

quotation marks omitted)).

       Finally, evidence of poor quality, including the potential for harm caused by that

poor quality, is directly relevant to establishing a likelihood of confusion, mistake, or

deception. See 18 U.S.C. § 2320(f)(1)(A)(iv). If a product, for example, bears an Apple

trademark but is not an Apple product, that item is inherently fraudulent and almost

certainly deceptive. But there is more. Many of the hundreds, if not thousands, of fake

products in this case carry additional misleading indicators of reliability that signal to the

consumer that the products are not only legitimate, but also backed by assurances of safety

and dependability. One such indicator is a counterfeit certification mark from UL, which—

if legitimate—is included by companies like Apple and Samsung as assurances of product

integrity. A counterfeit Apple product, however, that carries a UL mark thus includes a

double layer of deception—that not only Apple made and stands by the product, but also

that a company like UL has certified that product’s safety.

       Thus, there exists a very real danger “when potential purchasers of [a trademark

holder’s] goods see unauthentic goods and identify these goods with the trademark holder.”

United States v. Torkington, 812 F.2d 1347, 1353 (11th Cir. 1987). When counterfeiters flood

the market with illicit contraband, victim brands not only lose control over the quality of




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those products, but they also lose control over any issues related to harm or dissatisfaction.2

See Hon, 904 F.3d at 806 (“[C]ounterfeiters [can earn] enormous profits . . . by capitalizing

on the reputations, development costs, and advertising efforts of honest manufacturers at

little expense to themselves.”). If an individual customer purchases a dangerous item that

bears an Apple trademark, for example, but that was not actually produced by Apple, that

customer—at a minimum—is left with a negative impression of the brand, not the

counterfeiter. Given this, “[i]t is easy to see . . . why trademark holders like [Apple] and

[Samsung] are accorded the right to control the quality of their goods,” especially when a

defendant’s items are “almost certainly of inferior quality.” See Farmer, 370 F.3d at 441.

The Defendants’ attempts to weaponize relevance and undue prejudice serve only to distract

from legitimate inquiries into their years-long pattern of capitalizing on honest brands, at

consumers’ expense, while bearing none of the brand holders’ risks and responsibilities.

       That some of this evidence may produce an emotional response is not enough to

exclude them under Rule 403. The testimony underpinning the White Paper is relevant,

directly ties into the testing performed on the Defendants’ products, and is probative

evidence of possible harm. The Defendants cannot selectively seek exclusion using Rule

403 as a pretense to sanitize potentially inconvenient facts. See United States v. Hankey, 203

F.3d 1160, 1172 (9th Cir. 2000).


2
        The Defendants attempt to sidestep this legal framework, arguing that “genuine
products are introduced into the stream of commerce every day that malfunction, are
recalled as defective, or cause injury.” ECF 1316, at 6. That is an exercise in smoke and
mirrors. Trademark holders enjoy an exclusive right to control the quality of their products,
but that also means they assume potentials risks of malfunctions or public-relations events.
Counterfeiters, by contrast, enjoy the goodwill and security engendered by the name
recognition of branded items while assuming none of the reputational risks, developmental
costs, or product-liability concerns assumed by mark holders. See Hon, 904 F.3d at 806.

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                                     CONCLUSION

       For the reasons discussed herein, the Government respectfully requests that the

Court deny the defense’s renewed motion to exclude evidence of the White Paper (Category

1), and find the motion moot as to speculative testimony from victims and brands, as well as

moot regarding harm to unrelated parties (Categories 2 and 3).

                                              RAFAEL M. GONZALEZ, JR.
                                              UNITED STATES ATTORNEY
                                              By:

                                              /s/ Katherine L. Horwitz
                                              KATHERINE L. HORWITZ
                                              Assistant United States Attorney

                                              /s/ Christian Nafzger
                                               CHRISTIAN NAFZGER
                                               Assistant United States Attorney

                                              /s/ Justin Whatcott
                                               JUSTIN WHATCOTT
                                               Assistant United States Attorney

                                              /s/ Joshua D. Hurwit
                                               JOSHUA D. HURWIT
                                               Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 28, 2022, the foregoing was electronically filed

with the Clerk of the Court using the CM/ECF system, and that a copy was served on the

following parties or counsel by ECF filing:

  JOHN DEFRANCO
  1031 E. Park Blvd.
  Boise, ID 83712
  jcd@greyhawklaw.com
  Attorney for Pavel Babichenko

  PAUL E. RIGGINS
  380 South 4th Street, Ste. 104
  Boise, ID 83702
  rigginslaw@gmail.com
  Attorney for Piotr Babichenko

  ROB S. LEWIS
  913 W. River Street, Ste. 430
  Boise, ID 83702
  office@roblewislaw.com
  Attorney for Timofey Babichenko

  GREG S. SILVEY
  P.O. Box 5501
  Boise, ID 83705
  greg@idahoappeals.com
  Attorney for Kristina Babichenko

  ROBYN A. FYFFE
  P.O. Box 5681
  Boise, ID 83705
  robyn@fyffelaw.com
  Attorney for David Bibikov




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  MELISSA WINBERG
  702 W. Idaho Street, Ste. 1000
  Boise, ID 83702
  Melissa_Winberg@fd.org
  Attorney for Anna Iyerusalimets

  ELLEN NICHOLE SMITH
  P.O. Box 140857
  Garden City, ID 83714
  ellen@smithhorras.com
  Attorney for Mikhail Iyerusalimets




                                            /s/ Katherine Horwitz
                                            Assistant United States Attorney




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